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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )              Case No. 8:08CR323
                     Plaintiff,              )
                                             )
       vs.                                   )
                                             )                     ORDER
DOUGLAS CROSS,                               )
                                             )
                     Defendant.              )


       This case is before the court on the defendant's Motion to Review Detention (#57).

The defendant requests the court to reopen the issue of detention and allow the defendant

to be released to the custody of his mother in North Platte, Nebraska.

       After reviewing the August 27, 2008 Pretrial Services memorandum and the court's

August 27, 2008 Detention Order (#14), I find the motion should be denied without hearing.

       The proposed placement of the defendant fails to address the court's concerns

regarding his prior history of drug abuse, his three prior felony drug convictions, and also

fails to rebut the presumption of detention under 18 U.S.C. § 3142(e).

       IT IS ORDERED the defendant's Motion to Review Detention (#57) is denied without

hearing.

       Dated this 18th day of December 2008.

                                          BY THE COURT:


                                          S/ F. A. Gossett
                                          United States Magistrate Judge
